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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

                               CASE NO. 6:22-cv-1648

MILAGROS JOHNSON,
individually and
on behalf of all others similarly situated,                 CLASS ACTION

       Plaintiff,                                    JURY TRIAL DEMANDED

v.


AVEN FINANCIAL, INC d/b/a AVEN,

    Defendant.
________________________________________/

                           CLASS ACTION COMPLAINT

       Plaintiff Milagros Johnson brings this class action against Defendant AVEN

FINANCIAL, INC d/b/a AVEN, and alleges as follows upon personal knowledge as to

Plaintiff and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

                             NATURE OF THE ACTION

       1.     This is a putative class action pursuant to the Telephone Consumer

Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”), and the Florida Telephone

Solicitation Act (“FTSA”), Fla. Stat. § 501.059.

       2.     To promote its goods and services, Defendant engages in unsolicited

text messaging to those who have not provided Defendant with their prior express

written consent as required by the FTSA.


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       3.      Defendant also engages in telemarketing without the requisite policies

and procedures and training required under the TCPA and its implementing

regulations.

       4.      Defendant’s telephonic sales calls have caused Plaintiff and the Class

members harm, including violations of their statutory rights, statutory damages,

annoyance, nuisance, and invasion of their privacy.

       5.      Through this action, Plaintiff seeks an injunction and statutory

damages on behalf of Plaintiff and the Class members, as defined below, and any

other available legal or equitable remedies resulting from the unlawful actions of

Defendant.

                                       PARTIES

       6.      Plaintiff is, and at all times relevant hereto was, a citizen and resident

of Volusia County, Florida.

       7.      Plaintiff is, and at all times relevant hereto was, an individual and a

“called party” as defined by Fla. Stat. § 501.059(1)(a) in that Plaintiff was the

regular user of cellular telephone number that received Defendant’s telephonic

sales calls.

       8.      Defendant is, and at all times relevant hereto was, a foreign

corporation and a “telephone solicitor” as defined by Fla. Stat. § 501.059(f).

                           JURISDICTION AND VENUE

       9.      This Court has federal question subject matter jurisdiction over

Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331.

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      10.    This Court has supplemental jurisdiction over Plaintiff’s FTSA claims

pursuant to 28 U.S.C. § 1367.

      11.    Defendant is subject to personal jurisdiction in Florida because this

suit arises out of and relates to Defendant’s contacts with this state. Defendant

initiated and directed telemarketing and/or advertising text messages into Florida.

Specifically, Defendant initiated and directed the transmission of unsolicited

advertisement or telemarketing text messages to Plaintiff’s cellular telephone

number to sell goods, services or products in Florida. Plaintiff’s telephone number

has an area code that specifically coincides with locations in Florida, and Plaintiff

received such messages while residing in and physically present in Florida.

      12.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and

(c) because Defendant is deemed to reside in any judicial district in which it is

subject to personal jurisdiction, and because a substantial part of the events or

omissions giving rise to the claim occurred in this District

                                      FACTS

      13.    Commencing in on or about July 24, 2022, Defendant sent telephonic

sales call to Plaintiff’s cellular telephone number, including the following:




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      14.    As demonstrated by the above screenshots, the purpose of

Defendant’s telephonic sales call was to solicit the sale of consumer goods and/or

services.

      15.    As demonstrated by the above screenshots, when it sent its text

message solicitations to Plaintiff, Defendant failed to identify (1) the name of the

individual caller; (2) the name of the legal entity on whose behalf the call was being

made; and (3) a telephone number or address at which Defendant may be

contacted.



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      16.    Plaintiff is the regular user of the telephone number that received the

above telephonic sales calls.

      17.    Plaintiff utilizes the cellular telephone number for personal purposes

and the number is Plaintiff’s residential telephone line.

      18.    Plaintiff was in Florida when Plaintiff received the above text message

call, and Defendant’s violative conduct occurred in substantial part in Florida.

      19.    Upon information and belief, Defendant maintains and/or has access

to outbound transmission reports for all text messages sent advertising/promoting

its services and goods. These reports show the dates, times, target telephone

numbers, and content of each message sent to Plaintiff and the Class members.

      20.    As demonstrated by the text message screenshots above, Defendant

did not provide Plaintiff and the Class members with instructions on how to opt-

out of future text messages by, for example, advising them that they could text

“Stop” to get the messages to stop, which is a standard requirement outlined in the

Principles and Best Practices manual published by CTIA, the trade association that

represents every major wireless carrier in the country. See 190719-CTIA-

Messaging-Principles-and-Best-Practices-FINAL.pdf at 15 (“Message Senders

should state in the message how and what words effect an opt-out. Standardized

‘STOP’ wording should be used for opt-out instructions, however opt-out requests

with normal language (i.e., stop, end, unsubscribe, cancel, quit, ‘please opt me out’)

should also be read and acted upon by a Message Sender except where a specific

word can result in unintentional opt-out. The validity of a Consumer opt-out

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should not be impacted by any de minimis variances in the Consumer opt-out

response, such as capitalization, punctuation, or any letter-case sensitivities.”).

        21.   Defendant’s failure to provide opt-out instructions to Plaintiff and the

Class members is indicative of Defendant’s failure to 1) maintain written policies

and procedures regarding its text messaging marketing; (2) provide training to its

personnel engaged in telemarketing; and (3) maintain a standalone do-not-call

list.

        22.   To transmit the above telephonic sales text message call, Defendant

utilized a computer software system that automatically selected and dialed

Plaintiff’s and the Class members’ telephone numbers.

        23.   To send the text messages, Defendant used a messaging platform (the

“Platform”), which permitted Defendant to transmit blasts of text messages

automatically and without any human involvement. The Platform automatically

made a series of calls to Plaintiff’s and the Class members’ stored telephone

numbers with no human involvement after the series of calls were initiated

utilizing the Platform.

        24.   Defendant was not required to and did not need to utilize the Platform

to send messages to Plaintiff and the Class members. Instead, Defendant opted to

use the Platform to maximize the reach of its text message advertisements at a

nominal cost to Defendant.

        25.   Defendant would be able to conduct its business operations without

sending automated text messages to consumers.

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      26.      Defendant would be able to send automated text messages to

consumers, and in compliance with the FTSA, by securing the proper consent from

consumers prior to sending text messages.

      27.      Defendant would be able to send text messages to consumers without

consent by utilizing a non-automated text messaging system.

      28.      Accordingly, it is not impossible for Defendant to comply with the

FTSA in the context of transmitting text messages.

      29.      The burden and cost to Defendant of securing consent from

consumers that complies with the FTSA is nominal.

      30.      Compliance with the FTSA will not result in Defendant having to cease

its business operations.

      31.      Compliance with the FTSA will not result in Defendant having the

alter the prices of any goods or services it provides in the marketplace.

      32.      Compliance with the FTSA will not force Defendant to seek regulatory

approval from the State of Florida before undertaking any type of commercial

transaction.

      33.      Because a substantial part of Defendant’s FTSA violations occurred in

Florida, requiring Defendant’s compliance with the FTSA will not have the

practical effect of regulating commerce occurring wholly outside of Florida.

      34.      The Platform has the capacity to select and dial numbers

automatically from a list of numbers, which was in fact utilized by Defendant.



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      35.    The Platform has the capacity to schedule the time and date for future

transmission of text messages, which was in fact utilized by Defendant.

      36.    The Platform also has an auto-reply function that results in the

automatic transmission of text messages.

      37.    Plaintiff never provided Defendant with express written consent

authorizing Defendant to transmit telephonic sales calls to Plaintiff’s cellular

telephone number utilizing an automated system for the selection and dialing of

telephone numbers.

      38.    More specifically, Plaintiff never signed any type of authorization

permitting or allowing the placement of a telephonic sales call by text message

using an automated system for the selection and dialing of telephone numbers.

      39.    Since July 1, 2021, on information and belief, Defendant sent at least

50 text message solicitations to as many consumers in Florida.

      40.    Defendant’s failure to (1) maintain the required written policies and

procedures, (2) provide training to its personnel engaged in telemarketing, (3)

maintain a standalone do-not-call list, (4) provide Plaintiff and the Class members

with instructions on how to opt out of Defendant’s text message solicitations, (5)

identify the individual caller, (6) identify the legal name of the entity calling, and

(7) identify a telephone number or address at which the caller may be contacted,

caused Plaintiff and the Class members harm, including because they had no idea

how to stop Defendant’s unsolicited text message calls or who to contact to get the

messages to stop.

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      41.   Defendant’s telephonic sales calls caused Plaintiff and the Class

members harm, including statutory damages, inconvenience, invasion of privacy,

aggravation, annoyance, and violation of their statutory privacy rights.

                            CLASS ALLEGATIONS

      PROPOSED CLASSES

      42.   Plaintiff brings this lawsuit as a class action on behalf of Plaintiff

individually and on behalf of all other similarly situated persons as a class action

pursuant to Federal Rule of Civil Procedure 23. The Classes that Plaintiff seeks to

represent are defined as:

            IDNC Class: All persons within the United States
            who, within the four years prior to the filing of
            this Complaint through the date of class
            certification, (1) received two or more text
            messages within any 12-month period, (2)
            regarding Defendant’s property, goods, and/or
            services, (3) to said person’s residential
            telephone number.

            FTSA Class: All persons in Florida who, (1) were
            sent a telephonic sales call regarding Defendant’s
            property, goods, and/or services, (2) using the
            same equipment or type of equipment utilized to
            call Plaintiff.

            Seller Identification Class: All persons within the
            United States who, within the four years prior to
            the filing of this Complaint through the date of
            class certification, (1) received two or more text
            messages within any 12-month period, (2)
            regarding Defendant’s property, goods, and/or
            services, (3) to said person’s residential
            telephone number, (4) that did not disclose the
            name of the individual caller, the name of the
            person or entity on whose behalf the call is being

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                made, or a telephone number or address at which
                the person or entity may be contacted.

      43.       Defendant and its employees or agents are excluded from the Class.

      NUMEROSITY

      44.       Upon information and belief, Defendant has placed telephonic sales

calls to telephone numbers belonging to at least 50 persons. The members of the

Class, therefore, are believed to be so numerous that joinder of all members is

impracticable.

      45.       The exact number and identities of the Class members are unknown

at this time and can be ascertained only through discovery. Identification of the

Class members is a matter capable of ministerial determination from Defendant’s

call records.

      COMMON QUESTIONS OF LAW AND FACT

      46.       There are numerous questions of law and fact common to the Classes

which predominate over any questions affecting only individual members of the

Classes. Among the questions of law and fact common to the Class are:

            (a) Whether Defendant initiated telephonic sales calls to Plaintiff and the

                Class members;

            (b) Whether Defendant can meet its burden of showing that it had prior

                express written consent to make such calls;

            (c) Whether Defendants maintain an internal do-not-call list and instruct

                their employees on how to use the list; and


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            (d) Whether Defendant is liable for damages, and the amount of such

              damages.

      47.     The common questions in this case are capable of having common

answers. If Plaintiff’s claim that Defendant routinely transmits telephonic sales

calls without prior express written consent is accurate, Plaintiff and the Class

members will have identical claims capable of being efficiently adjudicated and

administered in this case.

      TYPICALITY

      48.     Plaintiff’s claims are typical of the claims of the Class members, as

they are all based on the same factual and legal theories.

      PROTECTING THE INTERESTS OF THE CLASS MEMBERS

      49.     Plaintiff is a representative who will fully and adequately assert and

protect the interests of the Class and has retained competent counsel. Accordingly,

Plaintiff is an adequate representative and will fairly and adequately protect the

interests of the Class.

      SUPERIORITY

      50.     A class action is superior to all other available methods for the fair and

efficient adjudication of this lawsuit because individual litigation of the claims of

all members of the Class is economically unfeasible and procedurally

impracticable. While the aggregate damages sustained by the Class are in the

millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense

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of individual lawsuits. The likelihood of individual Class members prosecuting

their own separate claims is remote, and, even if every member of the Class could

afford individual litigation, the court system would be unduly burdened by

individual litigation of such cases.

      51.    The prosecution of separate actions by members of the Class would

create a risk of establishing inconsistent rulings and/or incompatible standards of

conduct for Defendant. For example, one court might enjoin Defendant from

performing the challenged acts, whereas another may not. Additionally, individual

actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                   COUNT I
                    VIOLATION OF FLA. STAT. § 501.059
                  (On Behalf of Plaintiff and the FTSA Class)

      52.    Plaintiff re-alleges and incorporates the foregoing allegations as if

fully set forth herein.

      53.    It is a violation of the FTSA to “make or knowingly allow a telephonic

sales call to be made if such call involves an automated system for the selection or

dialing of telephone numbers or the playing of a recorded message when a

connection is completed to a number called without the prior express written

consent of the called party.” Fla. Stat. § 501.059(8)(a).

      54.    A “telephonic sales call” is defined as a “telephone call, text message,

or voicemail transmission to a consumer for the purpose of soliciting a sale of any

consumer goods or services, soliciting an extension of credit for consumer goods

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or services, or obtaining information that will or may be used for the direct

solicitation of a sale of consumer goods or services or an extension of credit for

such purposes.” Fla. Stat. § 501.059(1)(i).

      55.   “Prior express written consent” means an agreement in writing that:

            1. Bears the signature of the called party;

            2. Clearly authorizes the person making or allowing the placement of
               a telephonic sales call by telephone call, text message, or voicemail
               transmission to deliver or cause to be delivered to the called party
               a telephonic sales call using an automated system for the selection
               or dialing of telephone numbers, the playing of a recorded message
               when a connection is completed to a number called, or the
               transmission of a prerecorded voicemail;

            3. Includes the telephone number to which the signatory authorizes
               a telephonic sales call to be delivered; and

            4. Includes a clear and conspicuous disclosure informing the called
               party that:

                   a. By executing the agreement, the called party authorizes the
                      person making or allowing the placement of a telephonic
                      sales call to deliver or cause to be delivered a telephonic sales
                      call to the called party using an automated system for the
                      selection or dialing of telephone numbers or the playing of a
                      recorded message when a connection is completed to a
                      number called; and

                   b. He or she is not required to directly or indirectly sign the
                      written agreement or to agree to enter into such an
                      agreement as a condition of purchasing any property, goods,
                      or services. Fla. Stat. § 501.059(1)(g).

      56.   Defendant failed to secure prior express written consent from Plaintiff

and the Class members.




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      57.    In violation of the FTSA, Defendant made and/or knowingly allowed

telephonic sales calls to be made to Plaintiff and the Class members without

Plaintiff’s and the Class members’ prior express written consent.

      58.    Defendant made and/or knowingly allowed the telephonic sales calls

to Plaintiff and the Class members to be made utilizing an automated system for

the selection and dialing of telephone numbers.

      59.    As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a)

of the FTSA, Plaintiff and Class members were harmed and are each entitled to a

minimum of $500.00 in damages for each violation. Plaintiff and the Class

members are also entitled to an injunction against future calls. Id.

      60.    Plaintiff requests for this Court to enter an Order granting the relief

outlined in the Prayer for Relief below.

                                 COUNT II
       Violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
               (On Behalf of Plaintiff and the IDNC Class)

      61.    Plaintiff re-alleges and incorporates the allegations set forth in

paragraphs 1 through 51 as if fully set forth herein.

      62.    In pertinent part, 47 C.F.R. § 64.1200(d) provides:

             No person or entity shall initiate any call for
             telemarketing purposes to a residential telephone
             subscriber unless such person or entity has instituted
             procedures for maintaining a list of persons who request
             not to receive telemarketing calls made by or on behalf of
             that person or entity. The procedures instituted must
             meet the following minimum standards:

             (1) Written policy. Persons or entities making calls for

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            telemarketing purposes must have a written policy,
            available upon demand, for maintaining a do-not-call
            list.

            (2) Training of personnel engaged in telemarketing.
            Personnel engaged in any aspect of telemarketing must
            be informed and trained in the existence and use of the
            do-not-call list.

            (3) Recording, disclosure of do-not-call requests. If a
            person or entity making a call for telemarketing purposes
            (or on whose behalf such a call is made) receives a request
            from a residential telephone subscriber not to receive calls
            from that person or entity, the person or entity must record
            the request and place the subscriber's name, if provided,
            and telephone number on the do-not-call list at the time the
            request is made. Persons or entities making calls for
            telemarketing purposes (or on whose behalf such calls are
            made) must honor a residential subscriber's do-not-call
            request within a reasonable time from the date such request
            is made. This period may not exceed thirty days from the
            date of such request. If such requests are recorded or
            maintained by a party other than the person or entity on
            whose behalf the telemarketing call is made, the person or
            entity on whose behalf the telemarketing call is made will be
            liable for any failures to honor the do-not-call request. A
            person or entity making a call for telemarketing purposes
            must obtain a consumer's prior express permission to share
            or forward the consumer's request not to be called to a party
            other than the person or entity on whose behalf a
            telemarketing call is made or an affiliated entity.

      63.   Pursuant to 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. §

64.1200(d) are applicable to any person or entity making telephone solicitations

or telemarketing calls to wireless telephone numbers.

      64.   Defendant violated the requirements of section 64.1200(d) by failing

to (1) maintain the required written policies; (2) provide training to its personnel

engaged in telemarketing; and (3) maintain a standalone do-not-call list.

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      65.    Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the IDNC

Class members are entitled to an award of $500.00 in statutory damages, for each

text message sent by Defendant. To the extent Defendant’s misconduct is

determined to be willful and knowing, the Court should, pursuant to 47 U.S.C. §

227(c)(5), treble the amount of statutory damages recoverable by the members of

the IDNC Class.

      66.    Plaintiff requests for this Court to enter an Order granting the relief

outlined in the Prayer for Relief below.

                               COUNT III
    Injunctive Relief Pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. §
                               64.1200(d)
               (On Behalf of Plaintiff and the IDNC Class)

      67.    Plaintiff re-alleges and incorporates the allegations set forth in

paragraphs 1 through 51 as if fully set forth herein.

      68.    Pursuant to section 227(c)(5)(A), Plaintiff seeks injunctive relief

prohibiting Defendant’s unlawful conduct in the future to protect Plaintiff and the

IDNC Class members from Defendant’s unsolicited calls and practices.

      69.    Defendant’s ongoing and continuing violations have caused, and in

the absence of an injunction will continue to cause, harm to Plaintiff and the IDNC

Class members.

      70.    Plaintiff and the IDNC Class members suffer irreparable harm if

Defendant is permitted to continue its practice of violating 47 C.F.R. § 64.1200(d).




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      71.     The injuries that the Plaintiff and the IDNC Class members will suffer

if Defendant is not prohibited from continuing to engage in the unlawful practices

described herein far outweigh the harm that Defendant will suffer if it is enjoined

from continuing this conduct.

      72.     The public interest will be served by an injunction prohibiting

Defendant from continuing to engage in the unlawful practices described herein.

      73.     Accordingly, Plaintiff and the IDNC Class members seek an injunction

requiring Defendant to (1) implement policies and procedures as required under

the TCPA and its implementing regulations; (2) honor consumer opt-out requests;

(3) to implement a standalone internal do-not-call list; and (4) train its personnel

on use of the list and abide by the list.

      74.     Plaintiff requests for this Court to enter an Order granting the relief

outlined in the Prayer for Relief below.

                                  COUNT IV
            Injunctive Relief Pursuant to Fla. Stat. § 501.059(10)(a)
                  (On Behalf of Plaintiff and the FTSA Class)

      75.     Plaintiff re-alleges and incorporates the allegations set forth in

paragraphs 1 through 51 as if fully set forth herein.

      76.     Pursuant to section 501.059(10)(a), Plaintiff seeks injunctive relief

prohibiting Defendant’s unlawful conduct in the future to protect Plaintiff and the

FTSA Class members from Defendant’s unsolicited calls and practices.




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      77.    Defendant’s ongoing and continuing violations have caused, and in

the absence of an injunction will continue to cause, harm to Plaintiff and the FTSA

Class members.

      78.    Plaintiff and the FTSA Class members suffer irreparable harm if

Defendant is permitted to continue its practice of violating the FTSA.

      79.    The injuries that the Plaintiff and the FTSA Class members will suffer

if Defendant is not prohibited from continuing to engage in the unlawful practices

described herein far outweigh the harm that Defendant will suffer if it is enjoined

from continuing this conduct.

      80.    The public interest will be served by an injunction prohibiting

Defendant from continuing to engage in the unlawful practices described herein.

      81.    Accordingly, Plaintiff and the FTSA Class members seek an injunction

requiring Defendant to implement policies and procedures to secure express

written consent before engaging in any text message solicitations, and to follow

such consent requirements.

      82.    Plaintiff requests for this Court to enter an Order granting the relief

outlined in the Prayer for Relief below.

                                 COUNT V
       Violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
        (On Behalf of Plaintiff and the Seller Identification Class)

      83.    Plaintiff re-alleges and incorporates the allegations set forth in

paragraphs 1 through 51 as if fully set forth herein.

      84.    In pertinent part, 47 C.F.R. § 64.1200(d) provides:

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            (4) Identification of sellers and telemarketers. A
            person or entity making a call for telemarketing purposes
            must provide the called party with the name of the
            individual caller, the name of the person or entity on whose
            behalf the call is being made, and a telephone number or
            address at which the person or entity may be contacted. The
            telephone number provided may not be a 900 number or
            any other number for which charges exceed local or long
            distance transmission charges.

      85.   Pursuant to 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. §

64.1200(d) are applicable to any person or entity making telephone solicitations

or telemarketing calls to wireless telephone numbers.

      86.   Defendant violated the requirements of section 64.1200(d)(4) by

failing to identify (1) the name of the individual caller; (2) the name of the legal

entity on whose behalf the call was being made; and (3) a telephone number or

address at which Defendant may be contacted.

      87.   Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the IDNC

Class members are entitled to an award of $500.00 in statutory damages, for each

text message sent by Defendant. To the extent Defendant’s misconduct is

determined to be willful and knowing, the Court should, pursuant to 47 U.S.C. §

227(c)(5), treble the amount of statutory damages recoverable by the members of

the IDNC Class.



      88.   Plaintiff requests for this Court to enter an Order granting the relief

outlined in the Prayer for Relief below.

                             PRAYER FOR RELIEF

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       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
following relief:


          a) An order certifying this case as a class action on behalf of the Classes as

              defined above, and appointing Plaintiff as the representative of the

              Classes and Plaintiff’s counsel as Class Counsel;

          b) An award of statutory damages for Plaintiff and each member of the

              Classes as applicable under the FTSA and/or TCPA;

          c) An order declaring that Defendant’s actions, as set out above, violate the

              FTSA and TCPA;

          d) An injunction requiring Defendant to cease all telephonic sales calls

              made without express written consent, and to otherwise protect the

              interests of the Class;

          e) An injunction requiring Defendant to comply with 47 C.F.R. § 64.1200(d)

              by (1) maintaining the required written policies; (2) providing training to

              their personnel engaged in telemarketing; and (3) maintaining a do-not-

              call list

          f) Such further and other relief as the Court deems necessary.

                                   JURY DEMAND

       Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                     DOCUMENT PRESERVATION DEMAND




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      Plaintiff demands that Defendant take affirmative steps to preserve all records,

lists, electronic databases or other itemization of telephone numbers associated with

the communications or transmittal of the calls as alleged herein.



DATED: September 9, 2022

                                           Respectfully Submitted,

                                           DAPEER LAW, P.A.

                                           /s/ Rachel Dapeer
                                           Rachel Dapeer
                                           Florida Bar No. 108039
                                           20900 NE 30th Ave., Suite 417
                                           Aventura, FL 33180
                                           T: 305-610-5223
                                           rachel@dapeer.com


                                           HIRALDO P.A.

                                           /s/ Manuel S. Hiraldo
                                           Manuel S. Hiraldo, Esq.
                                           Florida Bar No. 030380
                                           401 E. Las Olas Boulevard
                                           Suite 1400
                                           Ft. Lauderdale, Florida 33301
                                           Email: mhiraldo@hiraldolaw.com
                                           Telephone: 954.400.4713




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